                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW MEXICO

                                              Clerk's Minutes
                                  Before the Honorable James O. Browning


CASE NO.           NO. CIV 23-0150 JB/GBW        DATE: 5/22/2023

TITLE:        NM Cattle Growers Assoc., et al. v. United States Forest Service, et al.

COURTROOM CLERK: L. Rotonda                      COURT REPORTER:       P. Baca

COURT IN SESSION: 8:35 AM                        TOTAL TIME: 0:59

TYPE OF PROCEEDING: MOTION HEARING

COURT RULING/DISPOSITION:
  1. Motion to Intervene [26] – taken under advisement, inclined to grant.

ATTORNEYS PRESENT FOR PLAINTIFF(S):              ATTORNEYS PRESENT FOR DEFENDANT(S):
 Dan McGuire                                      Andrew Smith
 Jessica Blome                                    Emma Hamilton
 Deana Bennett                                    Brian Segee
 Steve Scholl
 Thomas Patterson


PROCEEDINGS:

COURT IN SESSION: 8:35 AM

COURT: CALLS CASE, COUNSEL ENTER APPEARANCES.

MR. SEGEE: ARGUES IN SUPPORT OF MOTION TO INTERVENE (DOC. 26).

MR. MCGUIRE: ARGUES IN OPPOSITION TO MOTION.

MR. SMITH: APPRISES THE COURT OF GOVERNMENT’S POSITION AS TO MOTION.

MR. MCGUIRE: RESPONDS TO SAME.

MR. SEGEE: ARGUES IN REBUTTAL AS TO MOTION.

COURT: INDICATES THAT IT IS DIFFICULT FOR COURT TO DETERMINE AT THIS POINT WHETHER THE

GOVERNMENT WILL REPRESENT INTERESTS OF PROPOSED INTERVENOR. WILL SORT OUT WHETHER



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INTERVENTION SHOULD BE GRANTED AS OF RIGHT OR AS PERMISSIVE INTERVENTION, BUT AT THIS

POINT IS INCLINED TO GRANT MOTION.

MR. MCGUIRE: IN LIGHT OF COURT’S RULING, WOULD ASK THAT COURT DIRECT INTERVENOR

AND GOVERNMENT TO CONFER BEFORE BRIEFING AND TO IDENTIFY AREAS ON WHICH THEY

DISAGREE SO AS TO REDUCE THE DUPLICATION OF EFFORTS.

COURT: WILL NOT GRANT REQUEST, DOES NOT WISH TO MICROMANAGE BRIEFING, WILL DENY.

MR. SMITH: ADDRESSES COURT REGARDING SCHEDULING OF BRIEFING, PROPOSES SHORT DELAY

BEFORE INTERVENOR FILES SAME SO AS TO PERMIT REVIEW OF GOVERNMENT’S FILING.

COURT: DIRECTS PARTIES TO DISCUSS AND COME TO AGREEMENT AS TO SAME.

COURT IN RECESS: 9:34 AM




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